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IN THE UNITED sTATEs DISTRICT COURT ---~__D.c.
FOR THE WESTERN DISTRICT oF TENNESSEE 05 JUN -5 w 9:3
EASTERN DIVISIoN m LEW H 37
LACRETIA JoHNsoN, sHANNA ) TNMCKSON
JOHNSON, PAMELA JOHNSON and )
FISHER SMITH, )
)
Plaintiffs, )
)
VS. ) NO. 03-1156-T/An
)
UNIVERSITY OF TENNESSEE )
FAMILY PRACTICE CENTER, )
)
Defendant. )

 

ORDER DISMISSING CLAIMS OF PLAINTIFF FISHER SMI'I`H

 

On May 10, 2005, the Court issued an order directing plaintiff Fisher Smith to Show cause,
within fifteen days after the date of the order, Why her claims should not be dismissed for failure to
prosecute The order was entered on the docket on May 1 1, 2005. Accordingly, Smith was required
to file a response on or before May 26, 2005.

As no response to the Order to Show Cause has been filed by Smith or by anyone on her

behalf, all claims of Fisher Smith are hereby DISMISSED with prejudice for failure to prosecute

C)a/ML.W

JAM D.D TODD

DS§TES?`O_D DISTRICT JUDGE

IT IS SO ORDERED.

Thls document entered on the docket sheet in compliance DATE
with nule 56 and/or sa{anerP-o ~ Ct‘:~'
52 'P}) FREPn

DISTRICT OURT - WESTER D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 29 in
case 1:03-CV-01156 was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed

 

 

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Honorable J ames Todd
US DISTRICT COURT

